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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                         CASE NO.:



  YVONNE SOUCHET,

          PLAINTIFF,

  v.

  CITY OF SWEETWATER, FLORIDA, a municipal corporation,
  BLUE MARTINI KENDALL LLC, BLUE MARTINI KENDALL, INC.,
  JESUS DOMINGUEZ, individually, and JACKSONVILLE PELAEZ, individually,

              DEFENDANTS.
  ____________________________________________/



                                              COMPLAINT

          1)      This a civil action seeking money damages in excess of $15,000 dollars, exclusive

  of costs, interest, and attorney's fees, arising out of violations of federal law and state torts detailed

  below against the CITY OF SWEETWATER, Florida, BLUE MARTINI KENDALL LLC, BLUE

  MARTINI KENDALL, INC., JESUS DOMINGUEZ, individually, and JACKSONVILLE PELAEZ,

  individually.

          2)      This action is brought pursuant to 42 U.S.C. § 1983, and the First, Fourth, and

  Fourteenth Amendments to the United States Constitution. Jurisdiction is founded on 28 U.S.C. §§

  1331, 1332, 1343 and 1367, 42 U.S.C. § 1988 and the constitutional provision mentioned above.

  PLAINTIFF further invokes the supplemental jurisdiction of the United States District Court to hear

  pendant state tort claims arising under state law pursuant to 28 U.S.C. § 1367(a).



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         3)      The acts and practices constituting the violations alleged below have occurred within

  the jurisdiction of the United States District Court, in and for the Southern District of Florida.

         4)      PLAINTIFF YVONNE SOUCHET [hereinafter PLAINTIFF] was over 18 years of

  age, sui juris, and a resident of Miami-Dade County, State of Florida.

         5)      At all times material, DEFENDANT CITY OF SWEETWATER [hereinafter CITY]

  was a municipal corporation of the State of Florida and has its place of business in the City of

  SWEETWATER in Miami-Dade County in the Southern District of Florida, is sui juris, and acted

  through its agents, employees, and servants including police officers. The SWEETWATER Police

  Department [hereinafter DEPARTMENT] is an agency of the CITY.

         6)      At all times material hereto, DEFENDANT JESUS DOMINGUEZ [hereinafter

  DOMINGUEZ] was over 18 years of age, sui juris, sued in his individual capacity and was acting

  under the authority of the State of Florida and under color of law as a police officer for the CITY,

  and in such capacity, as an agent, servant, and employee of the CITY.

         7)      At all times material hereto, JACKSONVILLE PELAEZ [hereinafter PELAEZ] was

  over 18 years of age, sui juris, sued in his individual capacity and was acting under the authority of

  the State of Florida and under color of law as a police officer for the CITY, and in such capacity, as

  an agent, servant, and employee of the CITY.

         8)      At all times material hereto, DEFENDANTS DOMINGUEZ and PELAEZ, acted in

  their individual capacities and in the course and scope of their employment as police officers and

  agents of the CITY. Relief is also sought against DEFENDANTS DOMINGUEZ and PELAEZ in

  their individual capacities.




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         9)      At all times material, BLUE MARTINI KENDALL, INC., [hereinafter

  CORPORATION] was a for-profit Florida corporation with its principal place of business in Miami-

  Dade County in the Southern District of Florida.

         10)     At all times material, BLUE MARTINI KENDALL LLC, [hereinafter LLC] was a

  for-profit Florida limited liability company with its principal place of business in Miami-Dade

  County in the Southern District of Florida.

         11)     At all times material, CORPORATION and LLC conducted a business [hereinafter

  BUSINESS] located at 8405 Mills Drive, #205, Miami, FL 33183 in unincorporated Miami-Dade

  County. The BUSINESS was a lounge and restaurant which will also be referred to as BLUE

  MARTINI.

         12)     At all times material hereto, DEFENDANTS DOMINGUEZ and PELAEZ were

  employees and law enforcement officers of the CITY and were employed for off-duty details by

  DEFENDANTS CORPORATION and LLC from whom each received monetary compensation. At

  all times material, DEFENDANTS DOMINGUEZ and PELAEZ acted in concert with

  CORPORATION and LLC as agents and servants.

         13)     At all times material hereto, DEFENDANTS CITY, CORPORATION and LLC were

  the respondeat superiors of DEFENDANTS DOMINGUEZ and PELAEZ.

         14)     In connection with the acts, practices and violations alleged below, the

  DEFENDANTS DOMINGUEZ, PELAEZ, CITY, CORPORATION and LLC have either directly

  or indirectly violated PLAINTIFF’s constitutional rights

         15)     All conditions precedent to the filing of this lawsuit have been fulfilled pursuant to

  Florida Statutes §768.28.


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                                              FACTS

          16)    On or about November 15, 2012, plaintiff was a business invitee of BLUE MARTINI.

          17)    From at least as early as October 28, 2011, through and including November 15,

  2012, and afterwards, CITY engaged in a contract/arrangement with CORPORATION and LLC to

  employ CITY’s police officers as security officers and law enforcement officers at BLUE

  MARTINI’s location which was outside the physical boundaries and jurisdiction of the CITY.

          18)    The officers performed these duties in a program known as “off-duty” work which

  occurred outside the employment of CITY.

          19)    “Off-duty” work for the police officers was performed in addition to their regular

  duties for CITY.

          20)    At all times while performing off-duty work, the officers wore their CITY issued

  police uniforms, duty firearms, badges and credentials. The uniform displayed patches and other

  insignia identifying each officer as a law enforcement officer of CITY.

          21)    At all times CITY, DOMINGUEZ, PELAEZ, CORPORATION and LLC knew the

  BLUE MARTINI location was outside the physical boundaries and jurisdiction of the CITY.

          22)    CITY published to its officers the availability to perform off-duty work for

  CORPORATION and LLC. In addition, CITY determined which officers performed the off-duty

  work and scheduled the officers for off-duty work.

          23)    Each officer who upon the completion of the off-duty work for CORPORATION and

  LLC submitted a record of the date and times worked either to the CORPORATION and LLC or the

  CITY.




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          24)     CITY provided invoices to CORPORATION and LLC. Each invoice stated the

  amounts due and contained a listing of the officers with dates and times the off-duty services were

  provided by them for CORPORATION and LLC

          25)     The monies due to each officer for the off-duty work were provided by the

  CORPORATION and LLC to CITY. CITY then distributed the funds due to each officer after

  deducting the appropriate fees and deductions.

          26)     It was the custom, practice, policy, and official decision of CITY to allow its police

  officers to exercise authority as law enforcement officers outside the jurisdictional and physical

  boundaries of CITY and to make arrests for crimes including misdemeanors under Florida law and

  to continue those arrests through prosecutions within the court system.

          27)     It further was the custom, practice, policy, and official decision of CITY to allow its

  police officers to utilize police facilities and equipment to perform their work for the off-duty details

  employed by CORPORATION and LLC.

          28)     It further was the custom, practice, policy, and official decision of CITY to

  compensate its police officers who while working off-duty for CORPORATION and LLC made

  arrests or was otherwise involved in arrests including being witnesses. Such compensation included

  paying wages including overtime for the time spent by the officers within the criminal justice system

  including for attending court, depositions from CORPORATION and LLC

          29)     On or about November 15, 2012, DEFENDANTS DOMINGUEZ and PELAEZ were

  employed as off-duty police officers by CORPORATION and LLC at BLUE MARTINI.




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         30)     At all times on November 15, 2012 and thereafter, DEFENDANTS DOMINGUEZ

  and PELAEZ knew the acts they performed with regard to PLAINTIFF arose out of actions when

  each officer was out of the physical boundaries and jurisdiction of the CITY.

         31)      DEFENDANTS DOMINGUEZ and PELAEZ and all police officers of the CITY had

  no legal and law enforcement authority at BLUE MARTINI as it was located outside the CITY and

  the jurisdictional limits and authority of the police officers of the CITY.

         32)      DEFENDANTS DOMINGUEZ and PELAEZ were employed as off-duty police

  officers on other dates by BUSINESS at the BLUE MARTINI before and after November 15, 2012.

         33)     Other members of the CITY police department were employed as off-duty police

  officers by CORPORATION and LLC at the BLUE MARTINI from at least as early as October 29,

  2011, through and including November 15, 2012, and afterwards.

         34)     According to the report of DEFENDANT JESUS DOMINGUEZ the following events

  occurred on November 15, 2012 at the BLUE MARTINI.

                 a)      On that date while PLAINTIFF was a patron and invitee within the premises

         of BLUE MARTINI, employees and agents of BUSINESS requested the assistance of

         DEFENDANTS DOMINGUEZ and PELAEZ with regard to a situation involving

         PLAINTIFF.

                 b)      The employees and agents of BUSINESS summoned DEFENDANTS

         DOMINGUEZ and PELAEZ to escort PLAINTIFF from within the premises of the BLUE

         MARTINI.

                 c)      DEFENDANT DOMINGUEZ observed bloodshot eyes, slurred speech and

         a strong odor of an alcoholic beverage emitting from her breath.


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                 d)      PLAINTIFF was told several times to leave.

                 e)      PLAINTIFF responded by screaming profanities and causing a scene.

                 f)      PLAINTIFF was told to stop and leave.

                 g)      PLAINTIFF did not leave and again screamed profanities.

                 h)      PLAINTIFF was arrested, transported to the Sweetwater Police Department

         and then to the Dade County Jail.

         35)     At no time did DEFENDANTS DOMINGUEZ and PELAEZ witness PLAINTIFF

  commit any act which was criminal.

         36)     At no time did DEFENDANTS JESUS DOMINGUEZ and JACKSONVILLE

  PELAEZ have probable cause, arguable probable cause or reasonable suspicion that PLAINTIFF

  committed any criminal conduct or violation.

         37)     All actions performed by DEFENDANTS JESUS DOMINGUEZ and

  JACKSONVILLE PELAEZ were done in the course and scope of their employment by

  DEFENDANTS CITY and BUSINESS.

         38)     PLAINTIFF was arrested by DEFENDANT JESUS DOMINGUEZ for the crimes of

  Disorderly Intoxication, in violation of section 856.011, Florida Statutes, and Resisting Officer

  Without Violence to His or Her Person, in violation of section 843.02, Florida Statutes. Disorderly

  Intoxication is a second degree misdemeanor punishable with up to 60 days in jail and a $500 fine,

  or both. Resisting Officer Without Violence is a first degree misdemeanor punishable with up to one

  year in jail and a $1,000 fine, or both.

         39)     DEFENDANT JESUS DOMINGUEZ in furtherance of the arrest completed a

  complaint/arrest affidavit also known as an “A” form which also was a Notice to Appear pursuant


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  to Florida Rule of Criminal Procedure 3.140(a)(2) and issued and served pursuant Florida Rule of

  Criminal Procedure 3.125.

          40)     As a result of her arrest, PLAINTIFF was taken into custody, handcuffed and

  transported to the Sweetwater Police Department where she was processed including being

  fingerprinted and photographed. PLAINTIFF remained in custody until she was released pursuant

  to the Notice of Appear.

          41)     As a result of her arrest, PLAINTIFF suffered expenses for traveling to and from

  court including parking, traveling to the Pretrial Diversion Program and expenses thereof.

          42)     On or about January 28, 2014, the State Attorney dismissed all charges against

  PLAINTIFF. As a result, PLAINTIFF has never been convicted by any prosecuting authority of any

  criminal offense as a result of her arrest in this matter.

          43)     As a result of the agreement/contract between CITY, CORPORATION and LLC,

  CORPORATION and LLC conspired, acted jointly and acted in concert with CITY as a willful

  participant in the joint activity of the CITY to allow and authorize the CITY police officers to

  exercise police powers outside the physical boundaries and jurisdiction of CITY.

          44)     CITY, CORPORATION and LLC knew by the placement of the CITY officers at

  BLUE MARTINI that the CITY police officers would exercise police powers including the arrest,

  detention, search and prosecution of individuals outside the physical boundaries and jurisdiction of

  the CITY at BLUE MARTINI and the physical areas surrounding BLUE MARTINI.

          45)     CITY, CORPORATION and LLC acted with a common understanding or meeting

  of the minds to deprive PLAINTIFF of her rights under the Fourth Amendment.




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        46)     The following events actually occurred on November 15, 2012.

                a)     PLAINTIFF went to BLUE MARTINI as a business invitee.

                b)     While there PLAINTIFF had an incident which caused her alarm.

                c)     As a result of that incident, PLAINTIFF came into contact with employees

        of BLUE MARTINI.

                d)     DEFENDANTS DOMINGUEZ and PELAEZ who were outside of BLUE

        MARTINI performing their duties as off-duty officers were requested by employees of

        BLUE MARTINI to enter its premises and escort PLAINTIFF outside to the shopping center

        where BLUE MARTINI was located.

                e)     DEFENDANTS DOMINGUEZ and PELAEZ escorted PLAINTIFF outside

        of BLUE MARTINI.

                f)     PLAINTIFF went toward her car parked in the parking lot and decided she

        would take a taxi to her residence.

                g)     PLAINTIFF attempted to telephone for a taxi and discovered her cellular

        telephone was inoperative because the battery was dead.

                h)     PLAINTIFF returned to the shopping center to seek assistance in calling a

        taxi.

                i)     Upon returning, PLAINTIFF observed DEFENDANT PELAEZ and

        approached him.

                j)     In response to PLAINTIFF’s request for assistance, DEFENDANT PELAEZ

        refused to listen and threatened to arrest PLAINTIFF.

                k)     DEFENDANT DOMINGUEZ approached and laughed at her.


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                 l)        PLAINTIFF told DOMINGUEZ and PELAEZ that PELAEZ was unwilling

          to listen to her and she was only seeking aid in getting home.

                 m)        PLAINTIFF and DEFENDANTS DOMINGUEZ and PELAEZ engaged in

          communications including PLAINTIFF telling them that it was police officers like them who

          made trusting the police difficult.

                 n)        DEFENDANT PELAEZ told DEFENDANT DOMINGUEZ to arrest

          PLAINTIFF.

                 o)        DEFENDANT DOMINGUEZ arrested PLAINTIFF and handcuffed her.

                 p)        PLAINTIFF was placed in the backseat of a CITY police vehicle.

                 q)        PLAINTIFF was not seat belted nor otherwise secured in the CITY vehicle.

                 r)        A CITY police officer drove PLAINTIFF to the Sweetwater Police

          Department in a careless manner which caused PLAINTIFF to be thrown about inside the

          car and hit her body and head against the car injuring her.

                 s)        Upon their arrival at the station PLAINTIFF was placed into a holding cell

          and processed.

                 t)        A Miami Dade Police Officer came to the Sweetwater Police Department to

          transport PLAINTIFF to the Dade County Jail. Instead of transporting PLAINTIFF to the jail,

          PLAINTIFF was released pursuant to a Notice to Appear also known as a Promise to Appear.

          47)    At no time did PLAINTIFF commit a crime on November 15, 2012, nor was there

   probable cause, arguable probable cause or reasonable suspicion to arrest PLAINTIFF for the

   commission of any crime.




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          48)     At no time did any police officer of CITY have a lawful basis, probable cause,

   arguable probable cause or reasonable suspicion to arrest PLAINTIFF for any crime.

          49)     At no time did any officer of the police department of CITY possess lawful authority

   to exercise any police power outside the physical boundaries and jurisdiction of CITY. At no time

   were any officer of the police department of CITY engaged in the lawful execution of a legal duty.



                                              COUNT 1

           FALSE ARREST/FALSE IMPRISONMENT CLAIM BY PLAINTIFF
        AGAINST DEFENDANTS BLUE MARTINI KENDALL LLC, BLUE MARTINI
                          KENDALL, INC., & CITY


          For her cause of action against DEFENDANTS BLUE MARTINI KENDALL LLC, BLUE

   MARTINI KENDALL, INC., and CITY in Count 1, PLAINTIFF states:

          50)     PLAINTIFF realleges and adopts, as if fully set forth in Count 1, the allegations of

   paragraphs 1 through 49.

          51)     DEFENDANTS DOMINGUEZ and PELAEZ proximately caused PLAINTIFF’s

   detention, imprisonment and arrest in the absence of probable cause, arguable probable cause and

   reasonable suspicion that PLAINTIFF committed any criminal offense and without any lawful

   authority.

          52)     The actions of DEFENDANTS DOMINGUEZ and PELAEZ in causing the arrest of

   PLAINTIFF occurred in the absence of probable cause, arguable probable cause, reasonable

   suspicion and lawful authority. The actions of DEFENDANTS DOMINGUEZ and PELAEZ

   constitute false arrest/false imprisonment of PLAINTIFF under Florida law.



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          53)     The false arrest/false imprisonment of PLAINTIFF was committed by

   DEFENDANTS JESUS DOMINGUEZ and JACKSONVILLE PELAEZ in the course and scope of

   their employment as police officers for DEFENDANT CITY and in the course and scope of their

   employment for DEFENDANT BLUE MARTINI KENDALL LLC and BLUE MARTINI

   KENDALL, INC.

          54)      As a direct and proximate result PLAINTIFF suffered physical injury, expenses of

   traveling to court, suffered loss of her liberty and freedom, mental anguish, court expenses and

   related travel expenses, and loss of capacity for the enjoyment of life. She suffered grievously, was

   brought into public scandal with great humiliation, endured mental suffering and aggravation of her

   physical and mental condition and suffered a damaged reputation.

          WHEREFORE, PLAINTIFF prays:

                  a)      Judgment for compensatory damages in excess of $ 15,000 dollars against

   DEFENDANTS CITY, BLUE MARTINI KENDALL LLC and BLUE MARTINI KENDALL, INC.;

                  b)      Exemplary damages against DEFENDANTS BLUE MARTINI KENDALL

   LLC and BLUE MARTINI KENDALL, INC.;

                  c)      Cost of suit;

                  d)      Trial by jury as to all issues so triable; and

                  e)      Such other relief as this Honorable Court may deem just and appropriate.




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                                               COUNT 2

      MALICIOUS PROSECUTION CLAIM BY PLAINTIFF AGAINST DEFENDANTS
       JESUS DOMINGUEZ, BLUE MARTINI KENDALL LLC & BLUE MARTINI
                             KENDALL, INC.

           For her cause of action against DEFENDANTS JESUS DOMINGUEZ, BLUE MARTINI

   KENDALL LLC and BLUE MARTINI KENDALL, INC., in Count 2, PLAINTIFF states:

          55)     PLAINTIFF realleges and adopts, as if fully set forth in Count 2, the allegations of

   paragraphs 1 through 49.

          56)     On or about November 15, 2012, DEFENDANT DOMINGUEZ, acting within the

   scope and authority of his employment for DEFENDANT CITY, BLUE MARTINI KENDALL LLC

   and BLUE MARTINI KENDALL, INC., initiated criminal proceedings against PLAINTIFF by

   arresting her falsely and without legal authority for the charges of Disorderly Conduct and Resisting

   Without Violence.

          57)     Subsequently, the State Attorney proceeded against PLAINTIFF for those charges

   pursuant to the Notice to Appear issued by DEFENDANT DOMINGUEZ to PLAINTIFF.

          58)     The criminal proceedings against PLAINTIFF were caused and initiated by

   DEFENDANT DOMINGUEZ acting within the scope and authority of his employment by

   DEFENDANTS CITY, BLUE MARTINI KENDALL LLC and BLUE MARTINI KENDALL, INC.

          59)     The criminal proceedings were commenced for the benefit of DEFENDANTS BLUE

   MARTINI KENDALL LLC and BLUE MARTINI KENDALL, INC., and in furtherance of their

   hiring of off-duty CITY police officers to work at BLUE MARTINI.




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           60)     Subsequently, the criminal proceedings against PLAINTIFF were completely

   terminated in her favor on or about January 28, 2014, by the dismissal of the charges by the State

   Attorney.

           61)     No probable cause existed for the prosecution of PLAINTIFF for any charge.

           62)     With regard to this count, the prosecution was initiated with the presence of malice,

   fraud, reckless disregard for the truth, deliberate violence or oppression or with such gross

   negligence as to indicate wanton disregard for the rights of PLAINTIFF, to wit: DEFENDANT

   DOMINGUEZ, knew no probable cause existed for the initiation of prosecution of PLAINTIFF.

           63)     As a direct and proximate result of the malicious prosecution of PLAINTIFF, she

   suffered grievously, was brought into public scandal with great humiliation, endured mental

   suffering and aggravation of her physical and mental condition and suffered a damaged reputation.

           64)     As a further direct and proximate result of the malicious prosecution of PLAINTIFF,

   she further suffered mental anguish, loss of capacity for the enjoyment of life, court related and travel

   expenses, humiliation personally, damage to reputation, and loss of her freedom and civil rights.

           WHEREFORE, PLAINTIFF prays:

           a)      Judgment for compensatory damages in excess of $ 15,000 dollars against

   DEFENDANTS JESUS DOMINGUEZ, BLUE MARTINI KENDALL LLC and BLUE MARTINI

   KENDALL, INC.;

           b)      Exemplary damages against DEFENDANTS JESUS DOMINGUEZ, BLUE

   MARTINI KENDALL LLC and BLUE MARTINI KENDALL, INC.;

           c)      Costs of suit;

           d)      Trial by jury as to all issues so triable;


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          e)        Such other relief as this Honorable Court may deem just and appropriate.



                                                COUNT 3

       42 U.S.C. § 1983 VIOLATION OF FOURTH AMENDMENT CIVIL RIGHTS BY
      PLAINTIFF AGAINST DEFENDANTS DOMINGUEZ, PELAEZ, BLUE MARTINI
                    KENDALL LLC and BLUE MARTINI KENDALL, INC.


          For her cause of action against DEFENDANTS DOMINGUEZ, PELAEZ, BLUE MARTINI

   KENDALL LLC and BLUE MARTINI KENDALL, INC., in Count 3, PLAINTIFF states:

          65)       PLAINTIFF realleges and adopts, as if fully set forth in Count 2, the allegations of

   paragraphs 1 through 49.

          66)       This cause of action is brought by the PLAINTIFF against DEFENDANTS JESUS

   DOMINGUEZ, JACKSONVILLE PELAEZ, BLUE MARTINI KENDALL LLC and BLUE

   MARTINI KENDALL, INC., for deprivation of constitutional rights within the meaning of 42

   U.S.C. § 1983.

          67)       While DEFENDANTS DOMINGUEZ and PELAEZ were acting under the authority

   of the State of Florida and under color of law as police officers in the employ of CITY and acting

   in concert with CORPORATION and LLC as employees, agents and servants, they subjected

   PLAINTIFF to the deprivation of the rights and privileges secured to her by the Constitution of the

   United States including the constitutional right not to be deprived of liberty and to be free from

   unlawful arrest under the United States Constitution, including the Fourth Amendment, within the

   meaning of 42 U.S.C. § 1983.




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          68)     With regard to the violations of the constitutional rights of as alleged in this count,

   the actions of DEFENDANTS DOMINGUEZ and PELAEZ were done with malicious intent, ill

   will, spite, intent to injure, evil motive, wickedness, formed design to injure or oppress and were

   done with a reckless or callous indifference to PLAINTIFF’s federally protected rights entitling

   PLAINTIFF to an award of punitive damages against DEFENDANTS DOMINGUEZ, PELAEZ,

   BLUE MARTINI KENDALL LLC and BLUE MARTINI KENDALL, INC.

          69)      As a direct and proximate result of the above-mentioned unconstitutional acts,

   PLAINTIFF suffered mental anguish, loss of capacity for the enjoyment of life, physical injury,

   expenses of traveling to court, humiliation personally, and loss of her freedom and civil rights. She

   suffered grievously, was brought into public scandal with great humiliation, endured mental

   suffering and aggravation of her physical and mental condition and suffered a damaged reputation.

          WHEREFORE, THE PLAINTIFF prays:

          a)      Judgment for compensatory damages in excess of $ 15,000 dollars against

   DEFENDANTS DOMINGUEZ, PELAEZ, BLUE MARTINI KENDALL LLC and BLUE

   MARTINI KENDALL, INC.;

          b)      Exemplary damages against DEFENDANTS DOMINGUEZ, PELAEZ, BLUE

   MARTINI KENDALL LLC and BLUE MARTINI KENDALL, INC.;

          c)      Reasonable attorney’s fees;

          d)      Costs of suit;

          e)      Trial by jury as to all issues so triable;

          f)      Such other relief as this Honorable Court may deem just and appropriate.




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                            COUNT 4 - BATTERY - DEFENDANT CITY

           For her cause of action against DEFENDANT CITY., in Count 4, PLAINTIFF states:

          70)     PLAINTIFF realleges and adopts, as if fully set forth in Count 4, the allegations of

   paragraphs 1 through 49.

          71)      After PLAINTIFF’s arrest, she was handcuffed and a police officer of the CITY

   placed PLAINTIFF into the rear caged area of a CITY police car where she was not seat belted nor

   otherwise secured.

          72)     At all times that police officer was acting under the authority of the State of Florida

   and under color of law as a police officer of the CITY, and in such capacity, as an agent, servant, and

   employee of the CITY.

          73)     That police officer drove PLAINTIFF to the Sweetwater Police Department in a

   careless manner which caused PLAINTIFF to be thrown about inside the car and hit her body and

   head against the car injuring her.

          74)     That course of conduct of the officer in not seat belting nor otherwise securing

   PLAINTIFF and driving in the careless manner was intended to cause PLAINTIFF to strike herself

   against the inside of the car and which was harmful or offensive and occurred without PLAINTIFF’s

   consent.

          75)      At all times, that police officer commenced a course of conduct such that the actions

   occurred with great force and excessive use of force causing the PLAINTIFF severe bodily injury.

          76)     As a direct and proximate result of the excessive use of force, PLAINTIFF suffered

   grievously, has been brought into public scandal, and with great humiliation, mental suffering and

   damaged reputation.


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          77)       As a further direct and proximate result of the said excessive use of force,

   PLAINTIFF further suffered mental anguish, endured suffering and aggravation of her physical and

   mental condition and suffered a damaged reputation, loss of capacity for the enjoyment of life,

   humiliation personally, and damage to her reputation.

          WHEREFORE, PLAINTIFF prays:

          a)        Judgment for compensatory damages against DEFENDANT CITY;

          b)        Costs of suit;

          c)        Trial by jury as to all issues so triable; and

          d)        Such other relief as this Honorable Court may deem just and appropriate.



                                                  COUNT 5

     42 U.S.C. § 1983 FIRST AMENDMENT FREE SPEECH RETALIATION CLAIM OF
      PLAINTIFF AGAINST DEFENDANTS DOMINGUEZ, PELAEZ, BLUE MARTINI
                   KENDALL LLC and BLUE MARTINI KENDALL, INC.


          For her cause of action against DEFENDANTS DOMINGUEZ, PELAEZ, BLUE MARTINI

   KENDALL LLC and BLUE MARTINI KENDALL, INC., in Count 5, PLAINTIFF states:

          78)       PLAINTIFF realleges and adopts, as if fully set forth in Count 5, the allegations of

   paragraphs 1 through 49.

          79)       This cause of action is brought by the PLAINTIFF against DEFENDANTS JESUS

   DOMINGUEZ, JACKSONVILLE PELAEZ, BLUE MARTINI KENDALL LLC and BLUE

   MARTINI KENDALL, INC., for deprivation of constitutional rights within the meaning of 42

   U.S.C. § 1983.



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            80)   At all times material hereto, it was clearly established that "[t]he freedom of

   individuals verbally to oppose or challenge police action without thereby risking arrest is one of the

   principal characteristics by which we distinguish a free nation from a police state." City of Houston

   v. Hill, 107 S.Ct. 2502, 25010 (1987).

            81)   At all times material hereto, it was clearly established that speech is protected under

   the First Amendment as long as it does not physically obstruct the officer and is not "likely to

   produce a clear and present danger of a serious substantive evil that rises far above public

   inconvenience, annoyance, or unrest." Id. at 2009-10.

            82)    While DEFENDANTS DOMINGUEZ and PELAEZ were acting under the authority

   of the State of Florida and under color of law as police officers in the employ of CITY and acting

   in concert with CORPORATION and LLC as employees, agents and servants, they subjected

   PLAINTIFF to the deprivation of the rights and privileges secured to her by the Constitution of the

   United States including the constitutional right not to be deprived of liberty and to be free from

   unlawful arrest under the United States Constitution, including the Fourth Amendment, within the

   meaning of 42 U.S.C. § 1983.

            83)   DEFENDANTS DOMINGUEZ and PELAEZ’s arrest of PLAINTIFF was in

   retaliation for PLAINTIFF’s statement to DEFENDANTS DOMINGUEZ and PELAEZ that

   PELAEZ was unwilling to listen to her and she was only seeking aid in getting home and it was

   police officers like them who made trusting the police difficult, and in the absence of probable cause

   that PLAINTIFF committed any criminal offense. Davis v. Williams, 451 F.3d 759, 767 (11th Cir.

   2006).




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          84)     The arrest of PLAINTIFF by DEFENDANTS DOMINGUEZ and PELAEZ occurred

   in the absence of probable cause that PLAINTIFF committed any criminal offense, and would likely

   deter a person of ordinary firmness from the exercise of First Amendment rights. The conduct of

   DEFENDANTS DOMINGUEZ and PELAEZ towards PLAINTIFF constitutes unlawful retaliation

   in violation of PLAINTIFF’s clearly established rights under the First and Fourteenth Amendments,

   and 42 U.S.C. § 1983.

          85)     With regard to the violations of the constitutional rights of as alleged in this count,

   the actions of DEFENDANTS DOMINGUEZ and PELAEZ were done with malicious intent, ill

   will, spite, intent to injure, evil motive, wickedness, formed design to injure or oppress and were

   done with a reckless or callous indifference to PLAINTIFF’s federally protected rights entitling

   PLAINTIFF to an award of punitive damages against DEFENDANTS DOMINGUEZ, PELAEZ,

   BLUE MARTINI KENDALL LLC and BLUE MARTINI KENDALL, INC.

          86)      As a direct and proximate result of the above-mentioned unconstitutional acts of

   DEFENDANTS DOMINGUEZ and PELAEZ, PLAINTIFF suffered mental anguish, loss of capacity

   for the enjoyment of life, physical injury, expenses of traveling to court, humiliation personally, and

   loss of her freedom and civil rights. She suffered grievously, was brought into public scandal with

   great humiliation, endured mental suffering and aggravation of her physical and mental condition

   and suffered a damaged reputation.

          WHEREFORE, PLAINTIFF prays:

          a)      Judgment for compensatory damages in excess of $ 15,000 dollars against

   DEFENDANTS DOMINGUEZ, PELAEZ, BLUE MARTINI KENDALL LLC and BLUE

   MARTINI KENDALL, INC.;


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          b)      Exemplary damages against DEFENDANTS DOMINGUEZ, PELAEZ, BLUE

   MARTINI KENDALL LLC and BLUE MARTINI KENDALL, INC.;

          c)      Reasonable attorney’s fees;

          d)       Costs of suit;

          d)      Trial by jury as to all issues so triable;

          e)      Such other relief as this Honorable Court may deem just and appropriate.



                                 COUNT 6
       NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS - DEFENDANT CITY


   For her cause of action against DEFENDANT CITY in Count 6, PLAINTIFF states:

          PLAINTIFF realleges and adopts, as if fully set forth in Count 6, the allegations of

   paragraphs 1 through 49.

          87)     As a result of the actions of November 15, 2012, including being struck by being

   thrown about within the police car, PLAINTIFF suffered emotional distress and psychological

   trauma.

          88)     The psychological trauma and emotional distress caused PLAINTIFF to suffer from

   severe depression and post-traumatic stress disorder and other physical injuries.

          89)     As a direct and proximate result, PLAINTIFF suffered bodily injury and resulting pain

   and suffering, loss of his freedom, disability, disfigurement, mental anguish, loss of capacity for the

   enjoyment of life, medical care and treatment, and aggravation of a previously existing condition.

   She suffered grievously, was brought into public scandal with great humiliation, endured emotional

   distress in the form of shame, humiliation, degradation, mental suffering and aggravation of her


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   physical and mental condition and suffered damaged reputation. The losses and damages are either

   permanent or continuing in nature and PLAINTIFF will suffer the losses and damages in the future.

          WHEREFORE, PLAINTIFF prays:

                  a)     Judgment for compensatory damages in excess of $ 15,000 dollars;

                  b)     Cost of suit;

                  c)     Trial by jury as to issues so triable; and

                  d)     Such other relief as this Honorable Court may deem just and appropriate.



                                              COUNT 7

        42 U.S.C. § 1983 CLAIM OF PLAINTIFF AGAINST DEFENDANT CITY FOR
                              MUNICIPALITY LIABILITY


   For her cause of action against DEFENDANT CITY, in Count 7, PLAINTIFF states:

          90)     PLAINTIFF realleges and adopts, as if fully set forth in Count 7, the allegations of

   paragraphs 1 through 89.

          91)     At all times material, CITY through its police department, Chief of Police and

   supervisors, City Manager and supervisors, by a policy statement, ordinance, regulation or decision

   officially adopted or promulgated or by policy, practice or custom directly and proximately caused

   PLAINTIFF to be deprived of her rights to liberty and to be free from unlawful arrest under the

   United States Constitution, including the Fourth Amendment, and her right to not be prosecuted

   without due process of law under the United States Constitution, including the Fourteenth

   Amendment, as alleged herein.




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          92)     The policy statement, ordinance, regulation or decision officially adopted or

   promulgated, policy, practice or custom include, inter alia, :

                  a)      Authorization for its officers to act as off-duty police officers at the location

          of BLUE MARTINI which is outside the boundary lines and jurisdiction of CITY;

                  b)      Authorization for its officers to enforce the law and make arrests without

          authority and jurisdiction at the location of BLUE MARTINI which is outside the boundary

          lines and jurisdiction of CITY;

                  c)      Establishment of a contract/agreement with CORPORATION and LLC to

          allow the CORPORATION and LLC to hire off-duty officers to act as law enforcement

          officers at the location of BLUE MARTINI which is outside the boundary lines and

          jurisdiction of CITY;

                  d)      Acceptance of monies received from CORPORATION and LLC for the

          services of its police officers performed at BLUE MARTINI which is located outside the

          boundary lines and jurisdiction of the CITY;

                  e)      Distribution of the moneys received from CORPORATION and LLC to its

          police officers for the services of its police officers performed at BLUE MARTINI which is

          located outside the boundary lines and jurisdiction of the CITY;

                  f)      Authorization for its police officers to wear their police uniforms and insignia

          and use their CITY provided equipment in performing their off-duty work at BLUE

          MARTINI which is located outside the boundary lines and jurisdiction of the CITY;




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                 g)      Authorization for its police officers to utilize their assigned vehicles in

          performing their off-duty work at BLUE MARTINI which is located outside the boundary

          lines and jurisdiction of the CITY;

                 h)      Authorization for its police officers to utilize the physical facilities of the

          police department in performing their off-duty work at BLUE MARTINI which is located

          outside the boundary lines and jurisdiction of the CITY;

                 i)      Payment and compensation of the officers who performed the off-duty work

          to attend court, depositions, and other court matters relating to arrests and other law

          enforcement functions at BLUE MARTINI which is located outside the boundary lines and

          jurisdiction of the CITY;

                 j)      Delivery of subpoenas to the police officers relating to off-duty work

          performed at BLUE MARTINI which is located outside the boundary lines and jurisdiction

          of the CITY;

                 k)      Direction to the off-duty police officers to proceed with and pursue

          prosecution of persons arrested by its police officers as a result of their off-duty work at

          BLUE MARTINI which is located outside the boundary lines and jurisdiction of the CITY.

          93)    The actions of the CITY in permitting its police officers to proceed with and pursue

   prosecution of PLAINTIFF was objectively unreasonable and caused PLAINTIFF’s prosecution to

   continue, in violation of PLAINTIFF’s clearly established due process rights as guaranteed by the

   Fourth and Fourteenth Amendments to the United States Constitution and 42 USC § 1983.

          94)    The failure of the CITY to promptly disclose exculpatory evidence to prosecuting

   authorities that the DEFENDANTS DOMINGUEZ and PELAEZ were acting as law enforcement


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   officers outside the boundary lines and jurisdiction of the CITY where they had no lawful authority

   was objectively unreasonable and caused PLAINTIFF’s prosecution to continue, in violation of

   PLAINTIFF’s clearly established due process rights as guaranteed by the Fourth and Fourteenth

   Amendments to the United States Constitution and 42 USC § 1983.

          95)     The injuries suffered by PLAINTIFF were the direct result of the previously described

   acts, omissions, policies or customs of the Defendant CITY.

          94)     As a direct and proximate result of the acts described above, in violation of 42 United

   States Code section 1983, PLAINTIFF was injured in and about her body and extremities, suffered

   pain therefrom and incurred medical expenses for the treatment of the injuries. The injuries are either

   permanent or continuing in nature and PLAINTIFF will suffer the losses and impairment in the

   future. As a further direct and proximate result, PLAINTIFF suffered grievously, brought into public

   scandal and with great humiliation, mental suffering and damaged reputation. As a further direct and

   proximate result, Plaintiff suffered mental anguish, loss of capacities for the enjoyment of life, and

   loss of her freedom and civil rights.




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              WHEREFORE, PLAINTIFF prays:

              a)    Judgment for compensatory damages in excess of $1,000,000.00;

              b)    Costs of suit;

              c)    Reasonable attorney’s fees;

              d)    Trial by jury as to all issues so triable; and

              e)    Such other relief as this Honorable Court may deem just and appropriate.



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